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                        UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF MISSISSIPPI


IN RE: LISA SEWARD                                              CHAPTER 7

DEBTOR                                                          CASE NO. 18-11395 JDW

                                 MOTION TO AVOID LIEN

       COME(S) NOW, Debtor(s), by and through his/her/their attorney of record, and moves

the Court, pursuant to §522(f) of the United States Bankruptcy Code, to avoid the lien of the

Creditor, Fidelity National Loans, Inc., UCC File No. 20151719142A, on the grounds that the

security in household goods for said debt is a non-possessory, non-purchase money security

agreement. That said security is exempt property.

       WHEREFORE, PREMISES CONSIDERED, Debtor(s) move(s) this Honorable Court to

order the avoidance of the above lien/judgment.

                                            RESPECTFULLY SUBMITTED,


                                            /s/Karen B. Schneller
                                            KAREN B. SCHNELLER, MSB # 6558
                                            ALLEN CHERN LAW, LLC
                                            126 NORTH SPRING STREET
                                            POST OFFICE BOX 417
                                            HOLLY SPRINGS, MISSISSIPPI 38635
                                            (662) 252-3224/karen.schneller@gmail.com
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                                CERTIFICATE OF SERVICE


       I, Karen B. Schneller/Robert H. Lomenick, Attorney for Debtor, do hereby certify that I
have this day mailed, via electronic delivery or postage prepaid, a true and correct copy of the
above and foregoing Motion To Avoid Lien to:

Fidelity National Loans, Inc.
1172 Church Road W
Southaven, MS 38671

Jeffrey A. Levingston, Esq.
Chapter 7 Trustee
Post Office Box 1327
Cleveland, MS 38732

U. S. Trustee
501 East Court Street, Suite 6-430
Jackson, Mississippi 39201

       This the 11th day of May, 2018



                                                   /s/Karen B. Schneller_______
                                                   KAREN B. SCHNELLER
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                         UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF MISSISSIPPI


IN RE: LISA SEWARD                                                   CHAPTER 7

DEBTOR                                                               CASE NO. 18-11395 JDW


                          ORDER AVOIDING LIEN [DOC NO.                  ]

       THIS matter comes before the Court on the above referenced Debtor(s) Motion to Avoid

Lien of Fidelity National Loans, Inc. (the Creditor) pursuant to 11 U.S.C. § 522(f) and Federal

Rules of Bankruptcy Procedure 4003(d) and 9014 (the “Motion”)(Docket No.          ). The

Debtor(s) has/have represented to the Court that all parties in interest were timely served with

the Motion, no party has objected to the relief requested in the Motion by the deadline set by the

Court. Based on the Debtor(s) representations, the Court finds and concludes as follows:

       1.      The Debtor(s) exempted certain household goods of type set for in 11 U.S.C.

               §522(f)(1)(B), as listed on Schedule C filed by the Debtor(s) in this bankruptcy

               case. specifically the items in UCC Financing Statement File No.

               20151719142A .

       2.      The existence of the Creditor’s lien against the Debtor(s) property impairs

               exemptions to which the Debtor(s) would be entitled under Title 85, Chapter 3 of

               the Mississippi Code and 11 U.S. C. § 522(f) . Accordingly, it is hereby
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      ORDERED, ADJUDGED AND DECREED that

      1.     The Motion is GRANTED.

      2.     The nonpossessory, nonpurchase money lien held by the Creditor against the

             Debtor(s) exempt household goods as set for in 11. U.S.C. §522(f)(1)(B),

             specifically, UCC Financing Statement File No. 20151719142A, is/are

             AVOIDED, and the lien(s) is/are hereby extinguished as to that property and

             shall not survive bankruptcy, affix to, or remain enforceable against that property,

             unless this case is dismissed prior to entry of Debtor(s) discharge.

      3.     To the extent the Creditor’s lien is avoided by this Order, Creditor shall be treated

             as general unsecured creditor in this case.

                                                   #END OF ORDER#



PREPARED BY:

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